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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                                Case No. 1:19-CR-260-3

         v.                                            Hon. T.S. Ellis, III

FREDY FABIAN ALFARO,                                   Sentencing: November 6, 2020
 a/k/a “TITO,”

         Defendant.


                       GOVERNMENT’S POSITION ON SENTENCING

        The defendant, Fredy Fabian Alfaro, comes before the Court for sentencing after pleading

guilty to his role in a marijuana trafficking conspiracy that ultimately resulted in the murder of

Michael Cooker. The United States has no objection to the Probation Officer’s calculations of the

defendant’s Guidelines of 60 months for Count 1 and life imprisonment for Count 2, as set forth

in paragraphs 67–94 and Part D the Presentence Investigation Report (“PSR”) (ECF No. 130).

Pursuant to the plea agreement and Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure,

the Court may impose a total sentence of no more than 24 years of imprisonment. For the reasons

set forth herein, the United States respectfully submits that a sentence of 24 years is appropriate in

this case.

                                         BACKGROUND

        On April 18, 2018, at approximately 6:48 a.m., in Fairfax County, Virginia, a passerby

called 911 to report the discovery of Michael Cooker’s deceased body on the side of the road. PSR

¶ 23. Upon arrival, law enforcement found that Cooker had been shot multiple times in the head.

A homicide investigation was immediately initiated by the Fairfax County Police Department.
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       The investigation ultimately revealed that Cooker’s murder stemmed from a dispute in

connection with the marijuana trafficking operation he ran with the defendant. PSR ¶ 24. At the

time of Cooker’s death, he had known the defendant and co-defendant Jimmie Marcel McCray for

at least one year. Beginning around 2018, the defendant and Cooker entered into a business venture

together, the primary purpose of which was the shipment of marijuana from California to Virginia.

PSR ¶¶ 15, 49. Between February and April of 2018, the defendant and Cooker went to California

together on two occasions. PSR ¶¶ 16, 40. Cooker previously lived in California for several years

and had connections to individuals involved in the distribution of marijuana. While the defendant

had more money to fund the operation than Cooker, both Cooker and the defendant knew people

in Virginia who would purchase the marijuana from them. PSR ¶ 34.

       At some point after they began working together, the defendant and Cooker began fighting

about money. According to multiple witnesses, the defendant believed that Cooker was

mishandling the proceeds of the operation and was upset that Cooker was spending money on

drugs for personal use instead of putting it back into the marijuana business. PSR ¶¶ 16, 38, 40.

The defendant told a mutual friend of his and Cooker’s that the defendant was planning to cut

Cooker out of the business. PSR ¶ 39. Evidence suggests that both the defendant and Cooker

sought to undercut one another during the course of sales to potential customers. PSR ¶ 34. On

April 15, 2018, Cooker flew home to Virginia while the defendant remained in California. PSR

¶ 17. Upon his return, Cooker said that the defendant, who he referred to as his “business partner,”

was ripping him off by several thousand dollars. PSR ¶¶ 25, 38.

       On the night of April 16, 2018, co-defendant Jimmie McCray and Witness One (“W-1”)

went to Cooker’s apartment in Reston, Virginia. PSR ¶ 20. During that time, W-1 saw Cooker give

McCray a silver revolver, which the W-1 assumed Cooker traded McCray in exchange for drugs.
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Id. McCray and W-1 then left Cooker’s apartment and returned to the W-1’s house where McCray

showed the revolver to Forbes. Id.

       At approximately 10:30 p.m., about eight hours before Cooker’s murder, McCray and W-1

again stopped by Cooker’s apartment. PSR ¶ 21. Co-defendant Forbes also was present. Id. They

all discussed conducting a robbery in Maryland of an acquaintance of the defendant. Id. Around

this same time, Cooker placed numerous unanswered calls to the defendant’s cell phone. PSR ¶

18. The defendant sent Cooker a text that read, “Sorry, I can’t talk right now.” Id. Cooker

proceeded to make outgoing unanswered phone calls to the defendant’s cell phone. Id. Cooker

then sent the defendant the following series of text messages between 10:46 p.m. and 11:45 p.m.:

       “You got some real issues brah”
       “I showed u nothing but love every step of the way and you betrayed me”
       “Your liar and a straight up lower and u ain’t ever gonna be shit”
       “U think I didn’t see it shitty character this whole time”
       “Thnx for the stacks bitch”
       “*Your shitty character”
       “Btw I’m sueing u”
       “Actuly nevermind hard to sue someone who ain’t got shit”
       “Have fun in jail”
       “U don’t even realize how many people you have inconvenienced with your retard
       Behavior”
       “U lied to me your friends my friends and to my family”
       “You got carried away and. Now u want to blame everyone else”
       “Doesn’t get much more selfish than that”

Later that night, McCray and W-1 left Cooker’s apartment to conduct a drug deal. PSR ¶ 32.

During the drive to the drug deal, at approximately 4:37 a.m., the defendant called McCray in a

conversation that lasted over nine minutes. PSR ¶¶ 19, 36, 46. During that call, Alfaro offered

McCray remuneration in exchange for harming Cooker. PSR ¶¶ 19, 36, 56. McCray then placed a

call to the defendant that lasted for over four minutes that ended at 4:53 a.m. PSR ¶ 19. At the end

of the calls, McCray told W-1 that, “We’re not going to go to Maryland. We’re going to beat him

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up.” PSR ¶¶ 21, 46. W-1 asked McCray why he was going to beat Cooker up and McCray

responded that it was for a friend. PSR ¶ 21. Almost immediately, McCray called Forbes. PSR

¶ 19. Between 4:53 a.m. and 5:05 a.m. on April 18, 2018, McCray called Forbes a total of six

times. Id. At 5:29 a.m., McCray called Forbes and they spoke for over two minutes. Id. Five voice

calls took place between those numbers from 5:33 a.m. to 6:05 a.m. Id.

       McCray and W-1 returned to Cooker’s apartment after the drug transaction. PSR ¶ 21.

McCray, Forbes, Cooker, and W-1 left Cooker’s apartment sometime before 6:00 a.m. Id. McCray

and W-1 rode in W-1’s car while Cooker rode with Forbes who was driving a car rented by W-1.

Id. The two vehicles traveled on Pleasant Valley Road until McCray turned onto a cul-de-sac and

parked. Id. Forbes parked the rental car next to McCray. Id. McCray and Forbes exited their

vehicles and walked to the back of W-1’s car. Id. McCray removed the revolver from the back of

W-1’s vehicle and gave it to Forbes. PSR ¶¶ 21. After returning to their vehicles, McCray and W-1

exited the cul-de-sac and went right while Cooker and Forbes turned left. PSR ¶ 21. At

approximately 6:35 a.m., Forbes shot Cooker twice in the head with a Smith & Wesson Military

and Police Model, .38 Special revolver, killing him. PSR ¶¶ 23. 57.

       At approximately 6:48 a.m., a passerby discovered Cooker’s dead body on the side of

Colchester Road. PSR ¶ 23. The location where Cooker was found was approximately 20 minutes

from the cul-de-sac by car. According to Witness Two’s (“W-2”) statement to law enforcement,

the defendant called W-2 the same day of Cooker’s death and told W-2 Cooker had been shot.

PSR ¶ 35. Also according to W-2, the defendant was crying and said that he did not mean it and

that it was not supposed to happen. Id. W-2 told law enforcement that prior to Cooker’s death, the

defendant asked W-2 to rob Cooker and beat him up, but that the defendant did not ask W-2 to kill

Cooker. Id. W-2 also told law enforcement that McCray told W-2 that the defendant offered to pay
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McCray in exchange for physically harming Cooker. PSR ¶¶ 36. On April 21, 2018, the defendant

sent $400 to W-1 via MoneyGram for W-1 to provide to McCray, as agreed on during the

defendant’s and McCray’s phone calls the morning of Cooker’s murder.

       Five days after the murder, on April 23, 2018, Forbes was arrested in a hotel in Prince

William County, Virginia, pursuant to an arrest warrant obtained as part of a Loudoun County

Sheriff’s Office investigation into a separate shooting Forbes had committed. PSR ¶ 30. A search

warrant was executed on the hotel room and recovered a Smith and Wesson Military and Police

Model, .38 Special revolver submerged in the toilet tank. Id. The Commonwealth of Virginia

Department of Forensic Science microscopically analyzed the revolver and the two bullets from

the Cooker homicide and determined that the bullets were fired from the revolver found in Forbes’s

hotel room. Id.

       The defendant was arrested on April 25, 2019, in connection with a criminal complaint

charging him and co-defendants Forbes and McCray with Murder in the Course of Drug

Trafficking, in violation of 18 U.S.C. § 924(j)(1). PSR ¶¶ 1–2. He has been in federal custody

since that time. PSR ¶ 2. On August 29, 2019, a federal grand jury returned a four-count indictment

charging Count 1: Conspiracy to Distribute Marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and

846; Count 2: Use of a Firearm in Connection with Conspiracy to Distribute Marijuana Resulting

in Death, in violation of 18 U.S.C. § 924(c) and (j)(1); and Counts 3 and 4: Possession of a Firearm

by a Prohibited Person, in violation of 18 U.S.C. § 922(g)(1). PSR ¶ 3. The defendant was named

in Counts 1 and 2. Id.

       On January 15, 2020, the government notified the Court that it did not intend to seek the

death penalty against the defendant. PSR ¶ 4. The defendant pleaded guilty to Counts 1 and 2 on

March 18, 2020. PSR ¶ 5. The plea was accepted pursuant to Rule 11(c)(3)(A) of the Federal Rules
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of Criminal Procedure. PSR ¶¶ 7–8. Pursuant to the agreement, the Court may impose a sentence

of no more than 24 years’ imprisonment. Id.

                                   SENTENCING ANALYSIS

I.     The Law Governing Sentencing

       A court must consult both the Sentencing Guidelines (“USSG”) and the sentencing factors

in 18 U.S.C. § 3553(a) to determine a defendant’s appropriate sentence. Although the Sentencing

Guidelines are advisory, district courts are required to “consult those Guidelines and take them

into account when sentencing.” United States v. Booker, 543 U.S. 220, 264 (2005). Under the

required procedures, a “district court shall first calculate (after making the appropriate findings of

fact) the range prescribed by the guidelines. Then, the court shall consider that range as well as

other relevant factors set forth in the guidelines and those factors set forth in § 3553(a) before

imposing the sentence.” United States v. Hughes, 401 F.3d 540, 546 (4th Cir. 2005).

       Section 3553(a) requires district courts to impose a sentence “sufficient, but not greater

than necessary, to comply with the purposes set forth in paragraph (2) of this subsection.”

Paragraph 2 lists four purposes for a sentence: (A) to reflect the seriousness of the offense, to

promote respect for the law, and to provide just punishment for the offense; (B) to afford adequate

deterrence to criminal conduct; (C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational training, medical care, or other

correctional treatment in the most effective manner. 18 U.S.C. § 3553(a)(2). In addition to the

purposes of sentencing listed in Section 3553(a)(2), a sentencing court must also consider: (1) the

nature of the offense and the defendant’s history and characteristics; (2) the kinds of sentences

legally available; (3) the advisory sentencing range provided by the Sentencing Guidelines; (4)


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any relevant policy statement issued by the Sentencing Commission; (5) the need to avoid

unwarranted sentence disparities; and (6) the need for restitution. 18 U.S.C. § 3553(a).

II.        Guidelines Calculation

           Counts 1 and 2 are grouped together for calculation purposes. PSR ¶ 68. The base offense

level for a violation of 18 U.S.C. § 924(j)(1) is 43, pursuant to USSG § 2A1.1. PSR ¶ 69. The

government concurs with the Probation Officer’s determination that the defendant’s criminal

history score is eight, leading to a criminal history category of IV. PSR ¶¶ 80–94.The defendant’s

total offense level of 43 and criminal history category IV yields an advisory Guidelines range of

60 months for Count 1 and life in prison for Count 2. PSR Part D.

III.       Section 3553(a) Analysis

           The nature of the defendant’s crime is extremely serious. Drugs and violent crime have

long gone hand-in-hand. Unsurprisingly, law enforcement in the Washington, D.C. metropolitan

area reports that recently more homicides have been tied to drugs than the usual neighborhood

disputes. 1 Likewise, firearms in the wrong individuals’ hands pose a significant danger and risk to

community safety. In 2017, one year prior to the defendant’s crimes, there were 105 gun fatalities

every day and 14,542 homicides by firearm in the country—more than 42 per day. 2

           The defendant’s conduct in this case perfectly encapsulates this dangerous problem and the

background cited above is important to consider with respect to the defendant’s criminal conduct.

This case involved drugs, guns, and greed. The defendant entered into a drug trafficking business


       1
        Lorenzo Hall, Police: More DC Murders Linked To Drug Deals During Pandemic,
WUSA9 (May 11, 2020), https://www.wusa9.com/article/news/crime/police-more-dc-murders-
linked-to-drug-deals-during-pandemic/65-0e52d85d-80ce-4f40-886b-a2bc42a12d42.
    2
      Reducing Gun Violence: What Works and What Can be Done Now, Police Executive
Research Forum, at 1, 5, https://www.policeforum.org/assets/reducinggunviolence.pdf.

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with the victim in early 2018 and, at the time of Michael Cooker’s death, it was not going well.

The defendant was frustrated with Cooker and his handling of their business earnings. Instead of

reinvesting the money he made from the shipment of marijuana from California to this District,

Michael Cooker spent it on drugs for personal use and otherwise mishandled it. The defendant told

friends not to pay Cooker for the drugs Cooker sold them. He also told friends that he was going

to cut Cooker out of the business completely. The defendant ultimately told co-defendant McCray

that he would pay McCray to physically harm Cooker. But that was not the first offer the defendant

made to have Cooker hurt. He had also asked a mutual acquaintance located in Virginia to rob

Cooker and beat him up.

       Cooker clearly had issues with drug abuse and witnesses report that his behavior became

increasingly erratic prior to his murder. The defendant knew this. And while the defendant did not

pull the trigger to end Cooker’s life, his conduct leading up to the shooting leaves no question that

the circumstances of Cooker’s death could have been avoided if not for the defendant’s

involvement and direction. He chose to engage another person who he knew would be willing to

harm the victim on the defendant’s behalf. He did so deliberately and carefully and offered a sum

of money to McCray in exchange for his help. After two phone conversations with McCray, the

plan was arranged and, later that morning, Forbes shot and killed Cooker. The defendant then did

send $400 to W-1 to provide to McCray in accordance with their arrangement. The serious nature

of the offense—resulting in the loss of life—justifies a sentence of 24 years’ imprisonment.

       Likewise, the fact that Cooker was murdered in connection with a cross-country marijuana

trafficking operation further justifies the maximum sentence in that it evinces the need to promote

respect for the rule of law. The defendant, as well as the victim, were engaged in shipping boxes

of marijuana from California to Virginia for distribution. The defendant was so intent on
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succeeding in his illegal operation that he was willing to pay someone to inflict bodily harm on his

business partner in an effort to protect the business. The defendant’s operation unfortunately is not

unique nor is the violence that came from it. A sentence of 24 years’ imprisonment will serve the

joint goal of deterring others from engaging in similar conduct and protecting the public from the

defendant and those inclined to follow in his footsteps.

       The defendant engaged in this trafficking scheme without any regard for the consequences

to the community in general or, more specifically, to the victim’s family. Cooker’s mother, Mrs.

Ann Cooper, has been present for each proceeding in this case. In her victim impact statement, she

recalled how the pain of losing her son was so intense that sometimes she could barely breathe.

Due to the violent nature of her son’s death, she now suffers from post-traumatic stress disorder

for which she is receiving treatment. Mrs. Cooper has shown tremendous compassion for the men

responsible for her son’s death while at the same time acknowledging the shocking cruelty with

which they treated him. Mrs. Cooper said that living in a world without her son Michael is her life

sentence.

       The senseless nature of Cooker’s death, as well as the defendant’s criminal history, reflects

the need for a serious sentence. The defendant has a history of firearm offenses (PSR ¶ 83), drug

offenses (PSR ¶¶ 87–88, 91), and incredibly violent behavior against his own sister (PSR ¶ 90). In

light of these circumstances, including the seriousness of the offense and the need to provide

deterrence and to protect the public, the government respectfully requests the Court impose the

greatest sentence available.




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                                          CONCLUSION

       For the reasons stated herein, the United States submits that a sentence of imprisonment of

24 years is sufficient but not greater than necessary in this case.

                                               Respectfully submitted,

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                                               United States Attorney

                                                              /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of October 2020, I electronically filed the foregoing

using the CM/ECF system, which will automatically send a notification of such filing to all counsel

of record.

                                                                    /s/
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